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"Wi-Fi access points and cell towers" – Privacy & Terms – Google                                                                               4/3/23, 10:52 AM




          "Wi-Fi access points and cell towers"

          Examples

          For example, you can enable Google’s Location Service to improve location-based apps on your device. If you use Google’s
          Location Service, your device sends information about nearby Wi-Fi access points (like MAC address and signal strength)
          and cell towers to Google to help determine your location. You can use your device settings to enable Google Location
          Services.


          Learn more.




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https://policies.google.com/privacy/example/wifi-access-points-and-cell-towers?hl=en                                                                 Page 1 of 2




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